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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


                                                            Case No. 04168-JLG-KAJ
QUANTA TECHNOLOGIES, LLC,

         Plaintiff,                                         JUDGE JAMES L. GRAHAM

v.

ZURICH AMERICAN INSURANCE
COMPANY,

         Defendant.

               UNOPPOSED AND STIPULATED EXTENSION OF TIME FOR
               DEFENDANT ZURICH AMERICAN INSURANCE COMPANY
                       TO ANSWER OR OTHERWISE PLEAD

         The Complaint in the above-referenced matter was filed on June 21, 2021 in the Franklin

County Court of Common Pleas. Defendant Zurich American Insurance Company1 executed a

waiver of service on July 16, 2021. The case was removed from the Franklin County Court of

Common Pleas to this Court on August 13, 2021. Defendant’s response to Plaintiff’s Complaint

is currently due on August 20, 2021, pursuant to Rule 81(c) of the Federal Rules of Civil

Procedure.

         Pursuant to Local Rule 6.1(a) of the United States District Court for the Southern District

of Ohio, the parties hereby STIPULATE that Defendant may have an extension of twenty-one

(21) days within which to file a responsive pleading. Plaintiff is in the process of obtaining




   1 Defendant Zurich American Insurance Company is improperly named in Plaintiff’s caption as Zurich
American Insurance Company d/b/a Zurich North American and d/b/a Zurich Insurance Company.

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outside counsel but James Miller consents to this Stipulation as the Secretary and the General

Counsel of Quanta Technologies, LLC.

       Accordingly, the deadline for filing a responsive pleading is extended to September 10,

2021. No prior stipulated extensions have been granted to Defendant under Local Rule 6.1 and

no prior stipulated extensions to Defendant, together with the present stipulated extension,

exceed a total of twenty-one days.

       Respectfully submitted, this 18th day of August, 2021,

                                               /s/ Kevin M. Young
                                               Kevin M. Young (0029715)
                                               Jennifer L. Mesko (0087897)
                                               Tucker Ellis LLP
                                               950 Main Avenue, Suite 1100
                                               Cleveland, OH 44113
                                               Tel:       216.592.5000
                                               Fax:       216.592.5009
                                               E-mail: kevin.young@tuckerellis.com
                                                        jennifer.mesko@tuckerellis.com

                                               Attorney for Defendant Zurich American
                                               Insurance Company



                                               Approved and agreed:

                                                /s/ James D. Miller
                                                James D. Miller

                                               Secretary and General Counsel for Plaintiff
                                               Quanta Technologies, LLC




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on August 18, 2021, a copy of the within and foregoing was filed

electronically. Notice of this filing will be sent to all parties by operation of the Court’s

electronic filing system. Parties may access this filing through the Court’s system. In addition,

written notice of the filing of this Stipulated Extension will be delivered to counsel for Plaintiff:

James D. Miller
6313 Memorial Drive
Dublin, Ohio 43107
T: (614) 581-7471
F: (614) 889-2524

Secretary and General Counsel
for Plaintiff Quanta Technologies, LLC


                                               /s/ Kevin M. Young
                                               Kevin M. Young

                                               One of the Attorneys for Defendant Zurich
                                               American Insurance Company




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